Case 3:10-cr-00222-RNC Document 843 Filed 10/25/24 Pagelof9
UNDER GOD,

CASE# 3:10-cr-00222

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICUT

We the People of the United States,
Robert H. Rivernider, Jr./Counterclaimants,
V.

Michael G. Chase

Defendant(s).

WRIT OF SCTIRE FACIAS

AS A COUNTER-COMPLAINT

IN A FEDERAL CRIMINAL CASE

TO: Michael G. Chase
Acting as an official representative of the United States government but without proper legal

authority.

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In the name and under the signature of We the People, this Writ of Scire Facias is hereby

issued to command that you, Michael G. Chase show cause why your actions in this matter

should not be deemed void, unlawful, and why you should not forfeit any claim to lawful

authority due to the following violations of the U.S. Constitution:

I. COUNTER-CLAIM FOR FAILURE TO POSSESS PRESIDENTIAL

COMMISSION

Violation of Article II, Section 2 of the U.S. Constitution

The U.S. Constitution mandates under Article I, Section 2 that all executive officers must be
appointed by the President of the United States, with the advice and consent of the Senate.
Michael G. Chase has acted in an official capacity, yet no Presidential Commission has been
issued to validate their authority. As such, all actions taken by the Defendant in this capacity are

unlawful and in violation of the Constitution.

II. FAILURE TO OBTAIN SENATE CONFIRMATION

Violation of Article II, Section 3 of the U.S. Constitution Article I, Section 3 of the
Constitution requires that certain public officials must be confirmed by the U.S. Senate before

assuming their duties. The Defendant, Michael G. Chase has failed to provide proof of Senate

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confirmation, rendering their exercise of authority as a federal official illegitimate. This lack of

confirmation voids any and all acts purportedly taken under the color of federal office.

Iii. NO VALID COMMISSION FROM THE UNITED STATES

GOVERNMENT

Violation of Article VI, Section 2 of the U.S. Constitution

Under Article VI, Section 2 (the Supremacy Clause) of the U.S. Constitution, all government
officials are required to be bound by oath or affirmation to support the Constitution.
Furthermore, certain offices demand a valid commission, fiduciary bond, and oath of office
before duties can lawfully be exercised. The Defendant, Michael G. Chase has failed to provide
any such commission, oath, or bond. This failure violates the core legal principles that ensure the

lawful exercise of authority in the U.S. government.

IV. FAILURE TO LOCATE THESE RECORDS

On this day, October 21, 2024, the Custodian of Records did not locate any valid presidential
commission, Senate confirmation, or oath of office in the official records. Therefore, Michael

G. Chase is not qualified to hold office. By acting without these required legal documents,

the Defendant is unlawfully changing the form of government by operating outside the

constitutional framework established for federal officials.

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V. DEMAND FOR PROOF OF LAWFUL AUTHORITY WITHIN 2 DAYS

You, Michael G. Chase are hereby commanded to provide within 2 days:

1. Proof of a valid Presidential Commission, as required by Article II, Section 2 of the

Constitution.
2. Proof of Senate Confirmation, as required by Article I, Section 3.

3. Proof of a valid commission from the U.S. Government, an oath of office, and

fiduciary bond, as required under Article VI, Section 2.

VI. DEFAULT WRIT OF FORFEITURE IF NO COMPLIANCE

If you fail to provide the requested proof within the 2-day period, a Writ of Forfeiture will be

entered against you by default. This forfeiture will result in:
e Immediate forfeiture of office,
e Nullification of all actions taken by you under the pretense of federal authority,

e Legal claims for damages caused by your unlawful exercise of authority.

VIL RELIEF SOUGHT

Wherefore, We the People, as Counterclaimants, respectfully demand the following:

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1. A declaration that the Defendant’s actions are void and that the Defendant is unlawfully

acting without proper authority.

2. An order compelling the Defendant to provide proof of the required Presidential

Commission, Senate Confirmation, and oath and bond.

3. Ifno compliance is provided within 2 days, an immediate Writ of Forfeiture removing

the Defendant from office.

4. Any other relief this Court deems appropriate and necessary under the circumstances.

Respectfully submitted,

We the People of the United States

Robert H. Rivernider, Jr.

c/o 14 S Bobwhite Rd., Wildwood, Florida [34785]
bobriver@icloud.com

Signature (Seal of We the People): BA : Vos 4 es

v ~
Dated: October 21, 2024 Suy Jves

ISSUED BY ORDER OF THE COURT

DATED: October 21, 2024

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICUT

We the People of the United States,
Robert H. Rivernider Jr./Counterclaimants,
v.

Michael G. Chase,

Defendant.

PROOF OF SERVICE

I, Robert H. Rivernider, Jr., declare that on October 21, 2024, I served the Summons, Writ of
Scire Facias, and all attached documents to the Defendant, Michael G. Chase, in the following

manner:

Certified Mail: The documents were sent by certified mail, return receipt requested, to the

Defendant’s address as follows:

Michael G. Chase

1 Constitution Plz

Hartford, CT 06103

SUMMONS

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SERVICE DETAILS

Documents Served:

1. Summons

2. Writ of Scire Facias

Date of Service:

October 21, 2024

Person Served:
Michael G. Chase

Court appointed Defense Counsel

DECLARATION

I declare that I am over the age of 18 years and not a party to this case. I have complied with all

requirements for the proper service of documents under federal law and court rules.

Respectfully submitted,
Robert H. Rivernider Jr.
c/o 14 S Bobwhite Rd
Wildwood, Florida [34785]

bobriver@icloud.com

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i x CASE# 3:10-cr-00222
Signature: Keb (tr

Date: October 21, 2024

City/State: Wildwood, Florida

NOTARY PUBLIC

State of Florida

Subscribed and sworn to before me on this October 21, 2024 hy Robert H. Rivernider.

Notary Public sienatur, Olin ™m ld
My Commission Expires: Monel ao Rose

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se aT
ROBIN M. MCCOLLOUGH

wi MY COMMISSION # HH 506466
S  EXPIRES: March 20, 2028

CC: 1. Connecticut Federal Grand Jury
450 Main St., Hartford, CT 06103

2. United States House of Representatives
Speaker Michael Johnson
568 Cannon House Office Building
Washington, DC 20515

3. US House Judiciary Committee
Chairman Jim Jordan
2138 Rayburn House Building
Washington, DC 20515

4. US Senate Judiciary Committee
Chairman Richard Durbin
224 Dirksen Senate Office Building
Washington, DC 20510

5. Attorney General State of Florida
Attorney General Ashley Moody
Office of the Attorney General
State of Florida

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PL-01, The Capitol
Tallahassee, FL 32399-1050

6. Attorney General State of Connecticut
Attorney General William Tong
Office of the Attorney General
165 Capitol Avenue
Hartford, CT 06106

7. The Connecticut General Assembly
Grand Jury
Legislative Office Building
300 Capitol Avenue RM 5300
Hartford, CT 06106

8. Governor Ned Lamont
State Capitol
210 Capitol Avenue
Hartford, CT 06106

9. Sumter County Florida Sheriff William Farmer

C/O Under Sheriff Patrick Breeden
7361 Powell Rd.
Wildwood, FL 34785

SUMMONS

